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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Masih Alinejad,

Plaintiff,

vs.
Case Number: 1:19-cv-03599-EGS

The Islamic Republic of Iran et al.,

Defendants.
DECLARATION OF ALI HERISCHI
IN SUPPORT OF REQUEST FOR ENTRY OF DEFAULT
I, Ali Herischi, declare pursuant to 28 U.S.C. § 1746:

1. [am the counsel for Plaintiff in the above-captioned action.

2. Defendant the Islamic Republic of Iran, was served with copy of the Complaint
alleging unlawful acts under 28 USC §§ 1602 et seq. (“FSIA”) and other required
documents were filed herein on December 2, 2019 and service of process was had
on the defendant on October 27, 2020. That service was accomplished by the
Swiss Embassy in Tehran, Iran acting on behalf of the United States.

3. More than sixty (60) days have elapsed since the defendant in this action was
served, and the defendant has failed to plead or otherwise defend as provided by
the Federal Rules of Civil Procedure.

4. I declare under penalty of perjury that the foregoing is true and correct, to the best

of my knowledge.

Executed on January 13, 2020

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Respectfully submitted,

CML

Ali Herischi, Esq. (MD0024)

Attorney for Plaintiff
